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  1   Alfredo Torrijos
      alfredo@aswtlawyers.com
  2   Mike M. Arias
      mike@aswtlaw.com
  3   Arias Sanguinetti Wang andth Torrijos LLP
      6701 Center Drive West 14 Floor
  4   Los Angeles, CA 90045
      Telephone: (310) 844-9696
  5   Facsimile: (310) 861-0168
  6
      [Additional counsel appearing on signature page]
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  8   Attorneys for Plaintiff Edwardo Munoz, and the alleged Class
  9

 10                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 11
                                 WESTERN DIVISION
 12

 13
      Edwardo Munoz, individually and on          Case No. 18-cv-03893-RGK-AGR
      behalf of all others similarly situated,
 14                                               PROPOSED ORDER GRATING
 15
                        Plaintiff,                STIPULATION FOR
                                                  EXTENSION OF TIME FOR
 16                         v.                    DEFENDANT TO ANSWER OR
 17                                               OTHERWISE RESPOND TO
      7-Eleven, Inc.,                             PLAINTIFF’S COMPLAINT,
 18                                               AND TO VACATE THE L.R. 23-3
 19                  Defendant.                   DEADLINE FOR PLAINTIFF TO
                                                  MOVE FOR CLASS
 20                                               CERTIFICATION
 21
                                                  Complaint served: May 15, 2018
 22                                               Current response date:    June 5,
                                                  2018
 23                                               New response date: July 5, 2018
 24
                                                  Case Filed: May 9, 2018
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  1         PURSUANT TO STIPULATION, IT IS ORDERED THAT:
  2         1.    Defendant’s deadline to Answer or otherwise respond to the Complaint
  3   is extended from June 5, 2018 to July 5, 2018; and
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  5         2.    The current class certification deadline is vacated, and a new date will
  6   be established after the Parties submit their Case Management Statement.
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  8   Date:__________________
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                                              Hon. R. Gary Klausner
                                              Judge of the United States District Court
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                                   Stipulation for Extension of Time
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